
376 Mich. 373 (1965)
137 N.W.2d 161
In re APPEAL OF GENERAL MOTORS CORPORATION.
CITY OF LIVONIA
v.
STATE TAX COMMISSION.
Calendar No. 6, Docket No. 50,629.
Supreme Court of Michigan.
Decided October 4, 1965.
Harry M. Smit, City Attorney, subsequently Steve Polgar, City Attorney, and Milton I. Firestone, Assistant City Attorney, for plaintiff City of Livonia.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, T. Carl Holbrook and William D. Dexter, Assistant Attorneys General, for defendant State Tax Commission.
Aloysius F. Power, Donald K. Barnes, and Thomas J. Hughes, for cross-appealing taxpayer, General Motors Corporation.
*376 Amicus Curiae:
Samuel H. Olsen, Prosecuting Attorney, Aloysius J. Suchy and William F. Koney, Assistant Prosecuting Attorneys (Albert E. Champney, of counsel), for County of Wayne.
Levin, Levin, Garvett &amp; Dill (Charles L. Levin, of counsel), for Pavilion Apartments, Inc.
ADAMS, J.
This is an appeal and cross-appeal from the State tax commission's determination of General Motors' 1963 personal property assessment in Livonia. The city assessor used the taxpayer's original book costs as a beginning point and assessed the property at $26,603,790. He did so according to certain percentage rates or formulas recommended by Wayne county which he purportedly used as a uniform method to assess all personal property in the city. The assessment was upheld by the board of review. On appeal, the commission also used the taxpayer's figures but made a determination of $19,576,000. The commission's action placed the assessment at the average assessment level for personal property in Livonia.
The commission found:
"1. A 1963 equalization study of real property in Livonia revealed the level of assessment to be at 73.64% of the State equalized level. * * *
"3. The remainder of the assessment roll (personal property) was examined thoroughly for equalization in 1962. The average level of assessment determined from the study was 90.26% of the State equalized level.
"4. The 1962 personal property study results were brought forward to 1963 routinely. * * * The routine computations resulted in reducing the recognized *377 level of assessments * * * from 90.26% to 83.70%.
"5. In view of the weight of the real property assessment level which would have dictated an overall real and personal average level of assessment at approximately 76%, the 83.70% level of assessment routinely determined and based on the 1962 personal property study was used by the State tax commission to determine the final assessment for General Motors personal property in the city of Livonia." (Emphasis supplied.)
1.
The main question presented is: Is the Michigan State tax commission required by law to reduce an intentionally unequal personal property assessment to the level of assessment for all property  both real and personal  taxable in the assessment district?
The Michigan Constitution of 1908, controlling here, provided:
"The legislature shall provide by law a uniform rule of taxation, except on property paying specific taxes, and taxes shall be levied on such property as shall be prescribed by law." Article 10, § 3.
"All assessments hereafter authorized shall be on property at its cash value." Article 10, § 7.
The constitutional mandates were implemented by the general property tax act (PA 1893, No 206, as amended [CL 1948 and CLS 1961, § 211.1 et seq., as amended by PA 1963, No 66, (Stat Ann 1960 Rev and Stat Ann 1963 Cum Supp § 7.1 et seq.)]). The act provides for the uniform assessment and taxation of all taxable property, both real and personal other than intangibles, at the standard of true cash value (CL 1948, § 211.1, CLS 1961, § 211.24, as amended by PA 1963, No 66, § 211.27 [Stat Ann 1960 *378 Rev § 7.1, Stat Ann 1963 Cum Supp § 7.24, Stat Ann 1960 Rev § 7.27]). Section 24 of the act provides:
"The supervisor [assessing officer] shall estimate, according to his best information and judgment, the true cash value of every parcel of real property and set the same down opposite such parcel. He shall also estimate the true cash value of all the personal property of each person, and set the same down opposite the name of such person."
Thus all taxable property, real and personal, is placed in one category to be uniformly assessed and taxed.[1]
The twin demands of uniformity and cash value have plagued taxing authorities for years. If the requirement of cash value were met, the requirement of uniformity would also be met, but there has been a constant erosion of the concept of cash value.[2] The reasons for that erosion need not concern us, other than to note that because of differences in the concept of cash value from one assessing unit to another, because of the endeavor of an assessor to obtain an advantage for the taxpayers within his district by reducing assessments, or because of the wealth of a unit or the limited needs of its citizens, great disparities in assessments have occurred from governmental unit to governmental unit. Assessments often bear no relation to the *379 actual cash value[3] of the property or to the level of assessments in adjoining governmental units.
Equalization procedures attempt to meet the problem, it being the purpose of these procedures to adjust or correct all of the different modes of assessment to achieve uniformity among governmental units within a county and uniformity among all of the counties of the State. See School District No. 9, Pittsfield Township, Washtenaw County, v. Washtenaw County Board of Supervisors, 341 Mich 388, 405, and Calumet &amp; Hecla, Inc., v. Township of Allouez, 363 Mich 671. But apparently equalization never quite succeeds in overcoming the race for advantage.
With the destruction of the standard of cash value, the standard of uniformity becomes even more imperative, not only from tax unit to tax unit but as to the individual taxpayer within a unit. If there was ever any question as to which should control, the principle of equal treatment regardless of cash value is now recognized as being primary. See Titus v. State Tax Commission, supra; Buerger v. Alleghany County Board of Property Assessment, 188 Pa Super 561 (149 A2d 466, 469). As a practical matter, unequal assessments must be reduced to the average level of assessment if the taxpayer is to have a remedy. In the Matter of Appeals of Kents, 34 NJ 21, 25 (166 A2d 763, 765); City of Passaic v. Botany Mills, Inc., 72 NJ Super 449, 457 (178 A2d 657, 662), certiorari denied 37 NJ 231 (181 A2d 13).
Upon the record before us, General Motors' personal property was assessed at an average of 83.7% *380 of State equalized value.[4] The weighted average[5] of all property  real and personal  would be 76% of State equalized value. This is the average which (assuming the correctness of the commission's findings) should have been used in computing General Motors' personal property tax liability.
We hold that the mode of assessment used by the State tax commission was incorrect in that, having adopted a standard of average assessment levels to determine the question of uniform treatment of General Motors, it did not take into account the average assessment level of all property, real and personal. Titus v. State Tax Commission, supra.
2.
It is argued that to reduce the personal property assessment of General Motors and not that of any other taxpayer will bring about an unfair and inequitable result in that General Motors alone will benefit at the expense of others. The contention is that the commission should order a reassessment of all personal property within the city. The commission, under its powers, might follow such a procedure. In re Dearborn Clinic &amp; Diagnostic Hospital, 342 Mich 673, 681. It is not, however, the remedy the commission elected to afford this taxpayer.[6] This proceeding is an appeal by a single taxpayer. If correction of an improper assessment is to be made dependent upon a general reassessment of a taxing district, a taxpayer's remedy would become wholly inadequate.
*381 The United States Supreme Court, speaking of the requirements of the equal protection clause of the Fourteenth Amendment, held:
"The right is the right to equal treatment. He [the taxpayer] may not complain if equality is achieved by increasing the same taxes of other members of the class to the level of his own. The constitutional requirement, however, is not satisfied if a State does not itself remove the discrimination, but imposes on him against whom the discrimination has been directed the burden of seeking an upward revision of the taxes of other members of the class." Township of Hillsborough v. Cromwell, 326 US 620, 623 (66 S Ct 445, 90 L ed 358).
We need not decide whether such inadequacy violates our standard of uniformity since discretion is lodged in the tax commission to afford either general or specific relief.
The question to be determined is: What is the average level of assessment of all real and personal property within the city of Livonia? The city has a right to make its proofs based upon the work of its assessor, or any other proofs it may care to adduce. The taxpayer has the same right. Finally, the commission may pursue such independent examination, through its staff or other resources, as it elects.
The question of proofs to be used in a commission hearing was before this Court in Titus v. State Tax Commission, supra. While the Court did not there agree as to the admissibility of the proofs, there was no disagreement but that proper proofs might be presented with regard to average assessment levels. The standard of proof in an administrative hearing is provided for in PA 1952, No 197, § 5, as amended (CLS 1961, § 24.105 [Stat Ann 1961 Rev § 3.560(21.5)]). In Winokur v. State Board of Dentistry, 366 Mich 261, 265, it was stated:
*382 "The statute in regard to the admission of evidence in administrative proceedings provides a wide latitude for a hearing board."
Equalization studies, though made primarily for the purpose of equalizing tax levels between governmental units, obviously need not conform with a local assessor's findings and may be proper proof if a foundation is laid. Kingsford Chemical Company v. City of Kingsford, supra. See comment in Buerger v. Alleghany County Board of Property Assessment, supra pp 567, 568 (149 A2d 470), and People, ex rel. Wenzel, v. Chicago &amp; N.W.R. Co. (1963), 28 Ill2d 205 (190 NE2d 780). If equalization studies of a prior year are pertinent, said studies might also be considered. Upon remand, the commission should receive only such evidence as would be competent, acting under authority of PA 1952, No 197, § 5.
3.
The city of Livonia, Wayne county by brief amicus, and the attorney general raise the question as to whether, the city assessor having used one mode of assessment, it was proper for the tax commission to use some other mode. If the assessor had uniformly assessed all personal property in Livonia, there would have been no need for the commission to turn to other evidence to determine the level of assessments. However, the commission did not accept the city's claim that this was done.[7]*383 It was not obliged to do so.[8] It was bound to make its own findings and determination based upon the proofs presented to it.
Reversed and remanded to the Michigan State tax commission for further proceedings in accordance with this opinion. No costs, a public question being involved.
T.M. KAVANAGH, C.J., and DETHMERS, KELLY, BLACK, SMITH, and O'HARA, JJ., concurred.
SOURIS, J., did not sit.
NOTES
[1]  A uniform mode of assessment does not necessarily produce a uniform result. Applying the same formula of assessment to personal property as is applied to real property could produce an inequality which the uniformity provision was designed to prevent. Compare Kingsford Chemical Co. v. City of Kingsford, 347 Mich 91, 106, 107, and Titus v. State Tax Commission, 374 Mich 476, 480. Also, see the cases cited for the following proposition: "A generally approved practical scheme of valuation may yet produce fundamentally wrong results under the circumstances of a particular case."  Twenty-Two Charlotte, Inc., v. City of Detroit, 294 Mich 275, 285.
[2]  See article 9, § 3, Michigan Const 1963, providing for assessments not to exceed 50% of cash value after January 1, 1966.
[3]  As an example, Livonia admits assessing land and buildings on the 1963 roll at a common or average level of 40% and 43%, respectively, of current value. The commission found, through its 1963 equalization survey, an average assessment level in Livonia of 36.82% of current value for realty assessments.
[4]  I.e., 83.7% of 50% of true cash value, State equalized value being 50% of true cash value.
[5]  We assume that in determining the weighted average of all property, real or personal, the property of General Motors was not a significant factor. In the event that it would affect the weighted average, it should be excluded. See Kingsford, supra, pp 105, 107.
[6]  See OAG 1961-1962, No 3602, p 176.
[7]  "Although the assessor at the 1963 hearings claimed the assessments resulted from a rigid application of a formula, there were other factors which strongly affected the apparent average level of assessment.

"State tax commission audit of statements filed with the assessor were, in many cases, far short of reporting the actual costs requested. The unreported property included inventory as well as installed equipment. In some cases the audit by the State tax commission field staff revealed a hesitancy to report full costs even in response to requests for personal property statements by the State tax commission.
"In view of the findings in the personal property study plus the continued failure of the assessor to adequately check the reports, the State tax commission must consider the findings described above as superior to any other representations brought forward for consideration." Finding of State tax commission (emphasis supplied).
[8]  "The statutes (CL 1929, § 3406 [CL 1948, § 211.18 (Stat Ann 1960 Rev § 7.18)]) require every property owner to make a statement to the assessing officers. But such statements are not controlling in the fixing of the valuation of the taxpayer's property. United States Radiator Corp. v. Wayne County, 192 Mich 449. Nor is the action of the local assessing officer, or of the local board of review, controlling where the jurisdiction of the State tax commission is invoked and it has acted in the premises. CL 1929, §§ 3543-3547 [CL 1948, §§ 211.148-211.152 (Stat Ann 1960 Rev §§ 7.206-7.210)]." Hudson Motor Car Co. v. City of Detroit, 282 Mich 69, 80 (113 ALR 1472).

